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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                 CLARKSBURG

UNITED STATES OF AMERICA,

                        Plaintiff,

        vs.                                           Case No.: 1:21-MJ-27
                                                      (JUDGE ALOI)

GEORGE PIERRE TANIOS,

                        Defendant.



         ORDER GRANTING DEFENDANT’S MOTION TO SEAL [ECF NO. 20]

       Presently pending before the Court is Defendant’s motion to seal, filed on March 19, 2021.

[ECF No. 20]. By this motion, Defendant requests to seal his response to the Government’s motion

for pre-trial detention. For the reasons set forth therein, Defendant’s motion is GRANTED. It is

so ORDERED. It is further ORDERED that Defendant’s response to the Government’s motion

for pre-trial detention shall be placed under seal.

       The Court directs the Clerk of the Court to provide a copy of this Order to any parties who

appear pro se and all counsel of record, as provided in the Administrative Procedures for Electronic

Case Filing in the United States District Court for the Northern District of West Virginia.

ENTERED: March 22, 2021.




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